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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               Case No. 19-cv-61408-BLOOM/Valle

 ADEM ALBRA,

        Plaintiff,

 v.

 STATE OF FLORIDA, ATTORNEY
 GENERAL OF THE STATE OF FLORIDA,
 and SHERIFF OF BROWARD COUNTY

       Defendants.
 _____________________________________/

                      ORDER ON MOTION FOR LEAVE TO PROCEED
                       IN FORMA PAUPERIS AND DISMISSING CASE

        THIS CAUSE is before the Court upon the pro se Plaintiff’s Motion for Leave to Proceed

 in Forma Pauperis, ECF No. [3] (the “Motion”), filed in conjunction with Plaintiff’s Emergency

 Petition for Habeas Corpus or Alternatively, Non-Prisoner Habeas Corpus, ECF No. [1] (the

 “Petition”), asserted against the State of Florida, the Attorney General of the State of Florida and

 the Broward County Sheriff. Plaintiff Adem Albra (“Plaintiff” or “Albra”) has not paid the

 required filing fee and, thus, the screening provisions of 28 U.S.C. § 1915(e) are applicable. The

 Court has carefully reviewed the Petition, the Application, and the record in this case, and is

 otherwise fully advised in the premises. For the reasons that follow, Plaintiff’s Petition is

 DISMISSED WITHOUT PREJUDICE and the Application is DENIED AS MOOT.

        Fundamental to our conception and system of justice is that the courthouse doors will not

 be closed to persons based on their inability to pay a filing fee. Congress has provided that a court

 “may authorize the commencement . . . or prosecution of any suit, action or proceeding . . . or

 appeal therein, without the prepayment of fees . . . therefore, by a person who submits an affidavit
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 that includes a statement of all assets such [person] possesses that the person is unable to pay such

 fees . . . .” 28 U.S.C. § 1915(a)(1); see Martinez v. Kristi Kleaners, Inc., 364 F.3d 1305, 1306 n.1

 (11th Cir. 2004) (interpreting statute to apply to all persons seeking to proceed in forma pauperis

 (“IFP”)). Permission to proceed in forma pauperis is committed to the sound discretion of the

 court. Camp v. Oliver, 798 F.2d 434, 437 (11th Cir. 1986); see also Thomas v. Chattahoochee

 Judicial Circuit, 574 F. App’x 916, 916 (11th Cir. 2014) (“A district court has wide discretion in

 ruling on an application for leave to proceed IFP.”). However, “proceeding in forma pauperis is

 a privilege, not a right.” Camp, 798 F.2d at 437.

        In addition to the required showing that the litigant, because of poverty, is unable to pay

 for the court fees and costs, Martinez, 364 F.3d at 1307, upon a motion to proceed in forma

 pauperis the Court is required to examine whether “the action or appeal (i) is frivolous or

 malicious; (ii) fails to state a claim on which relief may be granted; or (iii) seeks monetary relief

 against a defendant who is immune from such relief.” 28 U.S.C. § 1915(e)(2). If the Court

 determines that the complaint satisfies any of the three enumerated circumstances under Section

 1915(e)(2)(B), the Court must dismiss the complaint.

        A pleading in a civil action must contain “a short and plain statement of the claim showing

 that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Although a complaint “does not need

 detailed factual allegations,” it must provide “more than labels and conclusions, and a formulaic

 recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S.

 544, 555 (2007); see Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (explaining that Rule 8(a)(2)’s

 pleading standard “demands more than an unadorned, the-defendant-unlawfully-harmed-me

 accusation”). Nor can a complaint rest on “‘naked assertion[s]’ devoid of ‘further factual

 enhancement.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557 (alteration in original)).




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 “[A] complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief

 that is plausible on its face.’” Id. (quoting Twombly, 550 U.S. at 570). Importantly, “[p]ro se

 pleadings are held to a less stringent standard than pleadings drafted by attorneys and [are] liberally

 construed.” Tannenbaum v. United States, 148 F.3d 1262, 1263 (11th Cir. 1998). “But the

 leniency accorded pro se litigants does not give a court license to serve as de facto counsel for a

 party or to rewrite an otherwise deficient pleading to sustain an action.” Matthews, Wilson &

 Matthews, Inc. v. Capital City Bank, 614 F. App’x 969, 969 n.1 (11th Cir. 2015) (citing GJR Invs.,

 Inc. v. Cty. of Escambia, Fla., 132 F.3d 1359, 1369 (11th Cir. 1998), overruled in part on other

 grounds by Randall v. Scott, 610 F.3d 701, 709 (11th Cir. 2010)).

        The Petition in this case must be dismissed because it fails to state a claim upon which

 relief can be granted. First, although Albra contends that the Petition is for habeas corpus, he

 concedes that he is not a prisoner, and therefore § 2254 does not apply to him.1 In fact, he seeks

 relief pursuant to 28 U.S.C. § 1983, for what he contends to be violations of his constitutional

 rights by Defendants seemingly related to a dispute with his roommate, which resulted in a

 temporary restraining order against him. According to the Petition, Plaintiff has been living with

 his roommate for approximately twenty years without incident. However, following an incident

 on March 11, 2019, in which police responded to Plaintiff’s residence, his roommate apparently

 obtained a temporary restraining order, which was served on Plaintiff by Defendants. Plaintiff

 complains about the manner in which the temporary restraining order was served—after his




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   Habeas corpus is “[a] writ employed to bring a person before a court, most frequently to ensure
 that the person’s imprisonment or detention is not illegal. [. . .] In addition to being used to test
 the legality of an arrest or commitment, the writ may be used to obtain judicial review of (1) the
 regularity of the extradition process, (2) the right to or amount of bail, or (3) the jurisdiction of a
 court that has imposed a criminal sentence. Habeas Corpus, Black’s Law Dictionary (11th ed.
 2019).


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 roommate allowed the police to enter the residence. Thereafter, nine officers entered Plaintiff’s

 room “to depict Albra as some Top Ten FBI fugitive.” ECF No. [1] at 9, ¶ 11. Plaintiff also

 complains about being falsely detained during the March 11, 2019 incident, and has apparently

 already filed suit against the Sheriff as a result.

         Although the Court liberally construes pro se pleadings, the Court is not free to construct

 causes of action for which adequate facts are not pled.          Indeed, although Plaintiff states

 conclusively that Defendants violated his Fourteenth Amendment rights, Plaintiff has not stated

 sufficient facts to state a plausible claim based on this theory. As the Court is unable to ascertain

 any plausible claim for relief from Plaintiff’s allegations, the instant action must be dismissed.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

              1. The Petition, ECF No. [1], is DISMISSED WITHOUT PREJUDICE.

              2. Plaintiff’s Motion, ECF No. [3], is DENIED AS MOOT.

              3. The Clerk of Court is directed to CLOSE this case.

         DONE AND ORDERED in Chambers at Miami, Florida, on June 6, 2019.




                                                           _________________________________
                                                           BETH BLOOM
                                                           UNITED STATES DISTRICT JUDGE
 Copies to:

 Adem Albra, pro se
 860 NE 34th Street
 Fort Lau




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